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                                                                       +HDULQJ'DWH$XJXVWDWDP (7 
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    -HVVH*UHHQ pro hac vice SHQGLQJ 
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    Attorneys for the Putative Debtor
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            7+(&28576+28/'',60,667+(,192/817$5<3(7,7,21)25
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    Asahi Metal Indus. Co. v. Superior Court of Cal.86  

    Burger King Corp. v. Rudzewicz86  

    C-TC 9th Ave. P’ship v. Norton Co. (In re C-TC 9th Ave. P’ship))G
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    Cunard S.S. Co. v. Salen Reefer Servs. AB)G G&LU 

    Dussault v. Republic of Argentina86'LVW/(;,6 6'1<)HE
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    Ecoban Fin. Ltd. v. Grupo Acerero Del Norte, S.A. de C.V.)6XSSG
        6'1< 

    Equity Broad. Corp. v. Shubert (In re Winstar Comm’ns)%5 %DQNU'
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    Finanz AG Zurich v. Banco Economico S.A.)G G&LU 

    Helicópteros Nacionales de Colombia, S.A. v. Hall86  

    In re AMC Investors, LLC%5 %DQNU''HO 

    In re Bd. of Dirs. of Multicanal S.A.%5 %DQNU6'1< SDVVLP

    In re Compania de Alimentos Fargo, S.A.%5 %DQNU6'1<2FW
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    In re Culmer%5 %DQNU6'1< 

    In re Garcia Avila%5 %DQNU6'1< 

    In re HBA East, Inc.%5 %DQNU('1< 

    In re Int’l Admin. Servs., Inc.%5 %DQNU0')OD 

    In re Northshore Mainland Servs., Inc.%5 %DQNU''HO 

    In re Spanish Cay Co.%5 %DQNU6')OD 

    In re SPhinX, Ltd.%5 %DQNU6'1< 

    In re TPG Troy, LLC%5 %DQNU6'1< 

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    In re Trina Assoc.%5 %DQNU('1< 

    In re Xacur%5 %DQNU6'7H[ SDVVLP

    In re Yukos Oil Co.%5 %DQNU6'7H[ 

    JP Morgan Chase Bank v. Altos Hornos de Mexico, S.A. de C.V.)G
        G&LU 

    Matter of Fitzgerald Group%5 %DQNU6'1< 

    Maxwell Commun. Corp. PLC by Homan v. Societe Generale (In re Maxwell
      Commun. Corp. plc))G G&LU 

    Metropolitan Life Ins. Co. v. Robertson-Ceco Corp.)G G&LU 

    Omni Capital Int’l Ltd. v. Rudolf Wolff & Co.86  

    One Techs., LLC v. Amazon.com, Inc.)$SS¶[ G&LU 

    Pennoyer v. Neff86  

    Remington Rand Corp.-Delaware v. Bus. Sys. Inc.. B.V.)G G&LU
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    Stonington Partners v. Lernout & Hauspie Speech Prods N.V.)G G
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    Taberna Preferred Funding IV, Ltd. v. Opportunities II Ltd. (In re Taberna
       Preferred Funding IV, Ltd.)%5 %DQNU6'1<1RY 

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    VHHNLQJ WKH GLVPLVVDO RI WKH LQYROXQWDU\ FKDSWHU  SHWLWLRQ SXUVXDQW WR VHFWLRQV  D  

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    DQG5XOH E DQG E RIWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUH WKH³%DQNUXSWF\

    5XOHV´ ,QVXSSRUWRIWKH0RWLRQWKH3XWDWLYH'HEWRUUHOLHVXSRQDQGLQFRUSRUDWHVE\UHIHUHQFH

    WKH L Declaration of Robert Wagstaff in Support of (I) Motion of the Putative Debtor to Transfer

    Venue of the Involuntary Chapter 11 Case to the United States Bankruptcy Court for the District

    of Delaware and (II) Motion of the Putative Debtor to Dismiss the Involuntary Chapter 11 Petition

        WKH³:DJVWDII'HFODUDWLRQ´ DQG LL Declaration of Juan Pablo Estrada Michel in Support of (I)

    Motion of the Putative Debtor to Transfer Venue of the Involuntary Chapter 11 Case to the United

    States Bankruptcy Court for the District of Delaware and (II) Motion of the Putative Debtor to

    Dismiss the Involuntary Chapter 11 Petition WKH³(VWUDGD'HFODUDWLRQ´ ,QIXUWKHUVXSSRUWRI

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    KDVRYHU86ELOOLRQRIIXQGHGGHEWREOLJDWLRQV)DFHGZLWKVHYHUHOLTXLGLW\FRQVWUDLQWVVLQFH

    WKHVWDUWRIWKH&29,'SDQGHPLFLQHDUO\WKH&RPSDQ\KDVVSHQWWKHSDVW\HDUDWWHPSWLQJ

    WRQHJRWLDWHDFRPSUHKHQVLYHUHVWUXFWXULQJWKDWZRXOGDOORZWKH&RPSDQ\WRGLVSRVHRIFHUWDLQ

    DVVHWV DQG UHVWUXFWXUH LWV VKRUW DQG PHGLXP WHUP ILQDQFLDO OLDELOLWLHV  $IWHU WKRVH GLVFXVVLRQV

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    %HUURQGR WKH³0H[LFDQ3HWLWLRQHU´ VROHO\LQKLVFDSDFLW\DVDVKDUHKROGHUILOHGDSHWLWLRQLQ

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    Especial Mercantil  IRU WKH GLVVROXWLRQ DQG OLTXLGDWLRQ RI WKH 3XWDWLYH 'HEWRU WKH ³0H[LFDQ

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    &RXUW´  WR IDFLOLWDWH WKH 3XWDWLYH 'HEWRU¶V RUGHUO\ DQG HIILFLHQW OLTXLGDWLRQ LQ DFFRUGDQFH ZLWK

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    LQ0H[LFRQRWLQWKH8QLWHG6WDWHV,QDGGLWLRQWKH6RXWKHUQ'LVWULFWRI1HZ<RUNLVDQLPSURSHU

    YHQXHDVWKLVGLVWULFWLVQRWWKHORFDWLRQRIWKH3XWDWLYH'HEWRU¶VGRPLFLOHUHVLGHQFHSULQFLSDO


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    HVWDEOLVKLQJVWDQGLQJDVSHWLWLRQLQJFUHGLWRUVWRFRPPHQFHWKLV,QYROXQWDU\&DVH

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    OLTXLGDWLRQ WKDQ WKH 8QLWHG 6WDWHV  7KH )RUHLJQ 5HSUHVHQWDWLYH¶V &KDSWHU  3HWLWLRQ VHHNLQJ

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    to Transfer Venue of the Involuntary Chapter 11 Case to the United States Bankruptcy Court for

    the District of Delaware WKH³0RWLRQWR7UDQVIHU´ VHHNLQJWUDQVIHURIWKH,QYROXQWDU\&DVHWR

    WKH'HODZDUH%DQNUXSWF\&RXUW7KH3XWDWLYH'HEWRUUHVSHFWIXOO\UHTXHVWVWKDWWKH&RXUWGHFLGH

    WKH 0RWLRQ WR 7UDQVIHU EHIRUH GHFLGLQJ WKLV 0RWLRQ  )ROORZLQJ WKH &RXUW¶V GHWHUPLQDWLRQ WKH

    3XWDWLYH'HEWRUUHVSHFWIXOO\UHTXHVWVWKDWWKHSUHVLGLQJFRXUWWKHQGLVPLVVRUGHQ\WKH,QYROXQWDU\

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    3'/VWKHFRQVXPHUORDQVDQGWKH&DU/RDQVWKH³&UpGLWR/RDQV´ DQG Y IDFWRULQJDQGOHDVLQJ

    GHVLJQHG WR IXQG WKH ZRUNLQJ FDSLWDO QHHGV RI VPDOO DQG PHGLXP HQWHUSULVHV ³)DFWRULQJ DQG

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        Sociedad Anónima Bursátil de Capital Variable RU6$%GH&9 DQGDQXQUHJXODWHGPXOWLSOH

    SXUSRVH ILQDQFLDO HQWLW\ Sociedad Financiera de Objeto Múltiple RU ³62)20´ Entidade No

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    see also Asahi Metal Indus. Co. v. Superior Court of Cal.  86    FRQVWUXLQJ

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    WKHDVVHUWLRQRIMXULVGLFWLRQ´In re Xacur%5DW FLWLQJBurger King86DW

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              $     6XEMHFWLQJWKH3XWDWLYH'HEWRUWRD3OHQDU\&KDSWHU5HRUJDQL]DWLRQLQ
                      WKH8QLWHG6WDWHV:RXOG3UHVHQWDQ8QIDLU%XUGHQ

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    GRVRZLOOVXEMHFWWKHPWRDQXQIDLUEXUGHQ+HUHWKHILQDQFLDODQGDGPLQLVWUDWLYHEXUGHQVRQWKH

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    WKRVH DVVRFLDWHG ZLWK PHUH FLYLO OLWLJDWLRQ DQG LW ZRXOG EH XQIDLU XQUHDVRQDEOH DQG XQGXO\

    EXUGHQVRPHRQWKH3XWDWLYH'HEWRUIRUWKLV&RXUWWRFRPSHOLWWRGRVR7KH3XWDWLYH'HEWRUKDV

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    DJUHHPHQW DQG UHOHDVH DJUHHPHQW ZLWK D MXULVGLFWLRQDO SURYLVLRQ IRU DQ\ ³SURFHHGLQJ RU FODLP

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     E   %DQNUXSWF\ 5XOH  D    $V H[SODLQHG LQ WKH 0RWLRQ WR 7UDQVIHU WKH 6RXWKHUQ

    'LVWULFWRI1HZ<RUNLVDQLPSURSHUYHQXHIRUWKLV,QYROXQWDU\&DVHDVWKLVGLVWULFWLVQRWWKH

    ORFDWLRQ RI WKH 3XWDWLYH 'HEWRU¶V GRPLFLOH UHVLGHQFH SULQFLSDO SODFH RI EXVLQHVV LQ WKH 8QLWHG

    6WDWHV RU LWV SULQFLSDO DVVHWV LQ WKH 8QLWHG 6WDWHV   7KLV ,QYROXQWDU\ &DVH FRQFHUQV D VLQJOH

    0H[LFDQ FRPSDQ\ ZLWK RQH SULQFLSDO 86 DVVHW²WKH VWRFN RI LWV 86 VXEVLGLDU\²ZKLFK LV

    ORFDWHGLQ'HODZDUH7KXVGLVPLVVDORIWKLV,QYROXQWDU\&DVHLVDSSURSULDWHXQGHU)HGHUDO5XOH

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             DPRXQW RU DQ LQGHQWXUH WUXVWHH UHSUHVHQWLQJ VXFK D KROGHU LI VXFK QRQFRQWLQJHQW
             XQGLVSXWHGFODLPVDJJUHJDWHDWOHDVWPRUHWKDQWKHYDOXHRIDQ\OLHQRQSURSHUW\
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    Taberna Preferred Funding IV, Ltd. v. Opportunities II Ltd. (In re Taberna Preferred Funding IV,

    Ltd.)%5 %DQNU6'1<1RY ³>,@IWKH&RXUWILQGVWKDWWKH3HWLWLRQLQJ

    &UHGLWRUVKDYHQRWPHWWKHLUEXUGHQRIHVWDEOLVKLQJDSULPDIDFLHFDVHWKDWWKH\VDWLVI\WKHHOLJLELOLW\

    UHTXLUHPHQWLQVHFWLRQ E RIWKH%DQNUXSWF\&RGHWKH&RXUWPD\HQWHUMXGJPHQWDJDLQVWWKHP

    RQWKLVLVVXHDQGWKHSHWLWLRQLQWK>H@LQYROXQWDU\FDVHVKRXOGEHGLVPLVVHG´Id

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    ERQGKROGHUV ,QVWLWXWLRQDO0XOWLSOH,QYHVWPHQW)XQG//&DQG93)XQG6ROXWLRQV /LHFKWHQVWHLQ 

    $*  IDLOHG WR SURYLGH VXIILFLHQW HYLGHQFH WKDW WKH\ HDFK KROG XQVHFXUHG FODLPV WKDW DUH ³QRW

    FRQWLQJHQWDVWROLDELOLW\RUWKHVXEMHFWRIDERQDILGHGLVSXWHDVWROLDELOLW\RUDPRXQW´7KHWZR

    SXUSRUWHG KROGHUV RI ERQG FODLPV IDLOHG WR SURYLGH VXIILFLHQW HYLGHQFH WKDW WKH\ DUH WKH DFWXDO

    EHQHILFLDOKROGHUVRIERQGVVXFKDVE\SURYLGLQJHYLGHQFHRIWKHFKDLQRIRZQHUVKLSRIVXFKERQGV

    UXQQLQJ XS IURP WKH KROGHU RI WKH JOREDO QRWH WR WKH '7& SDUWLFLSDQW DQG RQ WR WKH SXUSRUWHG

    EHQHILFLDO KROGHU 7R SURYH WKHVH KROGLQJV WKH SHWLWLRQLQJ FUHGLWRUV FDQQRW VLPSO\ SURYLGH

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    DSSURSULDWHHYLGHQFHWKH\RVWHQVLEO\HOHFWHGQRWWRSURYLGHLWEHFDXVHWKH\ZDQWHGWRUXVKWKHLU

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    Inc.%5 %DQNU''HO  FLWLQJIn re AMC Investors, LLC%5

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    re Compania de Alimentos Fargo, S.A.  %5 DW   7KH 6HFRQG &LUFXLW ³KDV IUHTXHQWO\

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    IRUHLJQLQVROYHQF\SURFHHGLQJVZLOOLQPDQ\FDVHVIDFLOLWDWHµHTXLWDEOHRUGHUO\DQGV\VWHPDWLF¶

    GLVWULEXWLRQRIWKHGHEWRU¶VDVVHWV´Maxwell Commun. Corp. PLC by Homan v. Societe Generale

    (In re Maxwell Commun. Corp. plc))G G&LU JP Morgan Chase Bank

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    KHOGWKDW86FRXUWVVKRXOGRUGLQDULO\GHFOLQHWRDGMXGLFDWHFUHGLWRUFODLPVWKDWDUHWKHVXEMHFWRI

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    DFWLRQV´ Cunard)GDW ³$PHULFDQFRXUWVKDYHFRQVLVWHQWO\UHFRJQL]HGWKHLQWHUHVW

    RIIRUHLJQFRXUWVLQOLTXLGDWLQJRUZLQGLQJXSWKHDIIDLUVRIWKHLURZQGRPHVWLFEXVLQHVVHQWLWLHV´ 

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    v. Altos Hornos de Mexico. S.A. de C.V.)G G&LU  ³>'@HIHUHQFHWRWKH

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    OHYHUDJHLQDQ\QHJRWLDWLRQV´ Multicanal S.A.%5DW GLVPLVVLQJDQLQYROXQWDU\FKDSWHU

    SHWLWLRQZKHUHQRUHDVRQDEOHOLNHOLKRRGRIUHRUJDQL]DWLRQH[LVWHGDQGWRDWWHPSWVXFKDSURFHVV

    ZRXOGEHREMHFWLYHO\IXWLOH see also C-TC 9th Ave. P’ship v. Norton Co. (In re C-TC 9th Ave.

    P’ship))G G&LU  ³:KHQLWLVFOHDUWKDWIURPWKHGDWHRIILOLQJWKH

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    GHEWRUKDVQRUHDVRQDEOHSUREDELOLW\RIHPHUJLQJIURPWKHEDQNUXSWF\SURFHHGLQJVDQGQRUHDOLVWLF

    FKDQFHRIUHRUJDQL]LQJWKHPWKH&KDSWHUSHWLWLRQPD\EHIULYRORXV´ FLWDWLRQRPLWWHG In re

    HBA East, Inc.  %5   %DQNU ('1<   ³&KDSWHU  UHOLHI VKRXOG QRW EH

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    DOWHUQDWHMXGLFLDOIRUXP´ $VH[SODLQHGDERYHWKLVLQYROXQWDU\FKDSWHUFDVHKDVQRFKDQFHRI

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    RI ERWK WKH 0H[LFDQ /LTXLGDWLRQ 3URFHHGLQJ DQG WKH )RUHLJQ 5HSUHVHQWDWLYH¶V SHWLWLRQ VHHNLQJ

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    GHPRQVWUDWHGWKHFRXUWPXVWDVFHUWDLQZKHWKHUJUDQWLQJDPRWLRQWRGLVPLVVLVLQWKHEHVWLQWHUHVWV

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                                         Counsel tothe Putative Debtor




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